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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

FINNAVATIONS LLC,

           Plaintiff,
                                                  C.A. No. 1:18-cv-00444-RGA
     v.

PAYONEER INC.,

           Defendant.


                 PAYONEER INC.’S BRIEF IN SUPPORT OF ITS
                    MOTION FOR EXCEPTIONAL CASE

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       The Supreme Court and Federal Circuit have made clear that claims directed to

fundamental financial principles or pure data manipulation are ineligible. Despite this,

Finnavations asserted claims directed to a 7,000-year-old accounting principle performed on a

generic computer using conventional data manipulation techniques, thereby implicating both

categories of ineligible concepts. Finnavations’ decision to assert objectively ineligible claims in

the face of clear precedent makes this an exceptional case under 35 U.S.C. § 285. Litigants should

be deterred from filing similar lawsuits in the future, and Payoneer should be compensated for

(correctly) standing on its rights and defending itself against claims that should never have been

filed. Payoneer respectfully requests that the Court grant its motion, find this case exceptional, and

award its attorneys’ fees.

I.     STATEMENT OF FACTS

       A.      Procedural Posture

       Finnavations LLC filed its Complaint against Payoneer Inc. on March 23, 2018, for

infringement of U.S. Patent No. 9,569,755. (D.I. 1). On May 16, Payoneer filed a Motion to

Dismiss for Failure to State a Claim based on ineligibility of the ’755 Patent under 35 U.S.C. § 101.

(D.I. 7, 8). Stitch Labs, Inc., a defendant in a related case on the same ’755 Patent, filed a similar

motion. (1:18-cv-00445, D.I. 9, 10). The Court heard argument on the motions on October 24, and

subsequently granted them on November 26, holding that “each of the claims of the ’755 Patent

are directed to unpatentable subject matter.” (D.I. 22 at 10).

       B.      The Hearing on the § 101 Motions to Dismiss

       Finnavations’ performance at the Court’s hearing on the motions to dismiss highlights the

baselessness of its claims. Just like in its briefing, Finnavations was unable to articulate how the

’755 Patent was directed to anything other than the abstract idea of bookkeeping performed on a



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generic computer. Finnavations could not even describe the alleged invention in a non-abstract

way, but had to resort to regurgitating the jargon of the claim:

       THE COURT: Well, let me stop you here. What’s the invention here?

       MR. JOHNSON: Well, the heart of the invention is taking data from a financial
       transaction and having that received at one component in the system, the financial
       assistant, and then adding data to that, and changing the data structure from a first
       structure to a second structure. The first structure being compatible with the online
       transaction.

Ex. A (Mot. Hrg.) at 27:6–24. After several minutes of the Court unpacking this explanation,

Finnavations eventually conceded that “changing the data structure” was the key claimed idea:

       MR. JOHNSON: . . . I mean, there’s certain things that a computing platform does
       that are generic with respect to data. But changing the data structure, the structure
       of the data itself from a first structure to a second structure for compatibility
       purposes here, compatibility purposes there is not generic. That's the point we’re
       making.

       THE COURT: Okay. I mean, but when you say the point you’re making, that’s
       basically the hook on which you’re either going to rise or fall on this 101 motion?

       MR. JOHNSON: I’d say that's the primary hook. I mean, there’s --

       THE COURT: Okay.

       MR. JOHNSON: Excuse me. Again, we have our other elements that we refer to,
       but that’s the one that I think is most important and critical in this case.

Id. at 33:2–16 (emphasis added). However, Finnavations admitted that instructions for “changing

the data structure”—the alleged innovation that is “most important and critical in this case”—are

nowhere to be found in the claims:

       MR. JOHNSON: So we have to change the structure from a first data structure to
       a second data structure --

       THE COURT: Does the --

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       MR. JOHNSON: -- so the program can deal with it.

       THE COURT: Does the claim say how you deal with it?

       MR. JOHNSON: No. The claim itself does not say how you deal with it.

Id. at 28:10–18 (emphasis added). And finally, when given an opportunity to show where the

specification explains how to change the data structure, the best Finnavations could cite to were

two passages that describe the idea, but not how to achieve it. Id. at 30:17–31:14 (referencing the

below excerpts).

       Another aspect of the present invention relates to the creation of a transaction data
       file that can be used to update information stored on a personal financial
       management program. (’755 Patent at 2:4–7)

       The user is allowed to associate additional data with the transaction data, including
       a notes field and a category. Upon entering the desired information, the transaction
       data is submitted to a personal financial management program. (’755 Patent at
       2:35–39)

Finnavations concluded its argument by claiming that its position was supported by several cases,

but could not explain how. Mot. Hrg. at 36:20–37:2.

       C.      The Court’s Order Invalidating the Asserted Patent

       Shortly after the hearing, the Court issued its ruling and invalidated all claims of the ’755

Patent. (D.I. 22 (Order) at 10). In its Alice step one analysis, the Court found that “the claims of

the ’755 Patent are plainly directed at a patent ineligible concept as (1) they attempt to capture a

fundamental financial principle in violation of Alice and Bilski, and (2) they cover pure data

manipulation as proscribed by Content Extraction.” Id. at 5. The Court observed that “the ’755

Patent is remarkably like the patent invalidated in Content Extraction” because its “attempt to

claim bookkeeping relies on the recognized abstract concept of data collection and recognition.”


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Id. at 7 (citing Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d

1343 (Fed. Cir. 2014)). The Court rejected Finnavations’ argument that DDR Holdings, LLC v.

Hotels.com, 773 F.3d 1245 (Fed. Cir. 2014), and Enfish, LLC v. Microsoft Corp., 822 F.3d 1327

(Fed. Cir. 2016), support the patent eligibility of the claims. Id.

       In its Alice step two analysis, the Court found that the ’755 Patent only relies on “basic

functions of a computer” that “fail to transform the claims into patent eligible subject matter.” Id.

at 8. In fact, the Court noted that “[t]he predominant software functionality claimed in the ’755

Patent—recording financial data—is identical to the function found to be non-inventive by the

Supreme Court in Alice.” Id. at 9. Because “[t]he ’755 Patent recites the same electronic

recordkeeping and data collection functionality as the patent at issue in Alice,” the Court

determined that the ’755 Patent failed to supply an inventive concept. Id.

II.    LEGAL STANDARD

       Section 285 of the Patent Act allows a district court, in an exceptional case, to award

reasonable attorneys’ fees to the prevailing party. 35 U.S.C. § 285. “District courts may determine

whether a case is ‘exceptional’ in the case-by-case exercise of their discretion, considering the

totality of the circumstances.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545,

554 (2014). An exceptional case under § 285 is “simply one that stands out from others with respect

to the substantive strength of a party’s litigating position (considering both the governing law and

the facts of the case) or the unreasonable manner in which the case was litigated.” Id.

       The facts here implicate all of the “nonexclusive” factors relevant to § 285 suggested by

the Supreme Court in Octane Fitness, including “meritlessness, motivation, objective

unreasonableness (both in the factual and legal components of the case) and the need in particular

circumstances to advance considerations of compensation and deterrence.” Id. at n.6. Payoneer



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need only demonstrate that this case is exceptional by a preponderance of the evidence, but the

facts presented here exceed that standard. Id. at 557.

III.       ARGUMENT

           A.      The Substantive Strength of Finnavations’ Position was Exceptionally Weak.

                   1.      Finnavations ignored the plethora of Federal Circuit cases holding
                           similar claims patent-ineligible.

           The ’755 Patent’s claims are directed to the fundamental economic practice of bookkeeping

and “the abstract idea of using a generic computer to search, analyze, and store information,” which

is the epitome of conventional computer activity. Order at 7. A cursory review of the law on § 101

should have revealed to Finnavations that the claims of the ’755 Patent are directed to this abstract

idea and do not contain any elements sufficient to make the claims patent eligible. First, the ’755

Patent’s claims are directed to the abstract idea of bookkeeping, which is a fundamental economic

practice—courts have made clear this category of subject matter is not eligible for patenting:

          “The concept of hedging,” which is “a fundamental economic practice long
           prevalent in our system of commerce,” “is an unpatentable abstract idea.” Bilski v.
           Kappos, 561 U.S. 593, 611 (2010);

          “[I]ntermediated settlement, i.e., the use of a third party to mitigate settlement risk,”
           “is an abstract idea beyond § 101’s scope,” Alice Corp. Pty. v. CLS Bank Int’l, 134
           S. Ct. 2347, 2356 (2014);

          Method of “creating a contractual relationship . . . that is beyond question of ancient
           lineage,” was ineligible for patenting, despite requiring generic computer
           functionality, buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014);

          Claims to “pricing a product for sale” were ineligible because they required nothing
           more than “the automation of the fundamental economic concept of offer-based
           price optimization through the use of generic-computer functions,” OIP Techs., Inc.
           v. Amazon.com, Inc., 788 F.3d 1359, 1363 (Fed. Cir. 2015);

          Method of “processing an application for financing a purchase” is an abstract idea
           that is not transformed into something “significantly more” by the use and
           arrangement of conventional and generic computer components, Credit Acceptance
           Corp. v. Westlake Servs., 859 F.3d 1044, 1056 (Fed. Cir. 2017).

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Second, the ’755 Patent’s claims are directed to the abstract idea of bookkeeping via the

implementation of the abstract concept of data manipulation, a concept that the Federal Circuit has

also made clear is abstract and ineligible for patenting:

      Claims for collecting data, recognizing certain data within the collected set, and
       storing that data were patent-ineligible, Content Extraction and Transmission LLC
       v. Wells Fargo Bank, National Ass’n, 776 F.3d 1343, 1347 (Fed. Cir. 2014);

      Systems and methods for performing real-time monitoring of an electric power grid
       by collecting data from multiple data sources, analyzing the data, and displaying
       the results “do not go beyond requiring the collection, analysis, and display of
       available information in a particular field” and are thus patent-ineligible, Elec.
       Power Group, LLC v. Alstom S.A., 830 F.3d 1350, 1351 (Fed. Cir. 2016);

      A method claiming the functional results of converting, routing, controlling,
       monitoring, and accumulating records “manipulates data but fails to do so in a non-
       abstract way” and is thus patent-ineligible, Two-Way Media Ltd. v. Comcast Cable
       Comm’cns, LLC, 874 F.3d 1329, 1337-39 (Fed. Cir. 2017);

      Claims “directed to . . . collecting, displaying, and manipulating data” that recite
       generic computer components that “merely describe the functions of the abstract
       idea itself” are patent-ineligible. Intellectual Ventures I LLC v. Capital One
       Financial Corp., 850 F.3d 1332, 1341 (Fed. Cir. 2017);

      A device used for recording a digital image, transferring the digital image from the
       recording device to a storage device, and administering the digital image in the
       storage device “claims no more than the abstract idea of classifying and storing
       digital images in an organized manner” and is thus patent-ineligible, In re TLI
       Comm’cns, 823 F.3d 607, 609 (Fed. Cir. 2016);

      Claims that merely collect information, analyze it, and display certain results of the
       collection and analysis are directed to a patent-ineligible concept. West View
       Research, LLC v. Audi AG, 685 F. App’x 923, 926 (Fed. Cir. 2017).

Finnavations’ patent thus falls into two separate but equally and clearly ineligible categories of

subject matter: fundamental economic practices and data manipulation. Indeed, the Court

recognized that “[t]he ’755 Patent recites the same electronic recordkeeping and data collection

functionality as the patent at issue in Alice.” Order at 9. A reasonable litigant analyzing the ’755




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Patent’s claims would have come to the same conclusion. Finnavations decided instead to pursue

infringement of these claims.

       It should have been clear to Finnavations from this body of law that the claims of the ’755

Patent were “manifestly directed to an abstract idea” and thus patent-ineligible. See Inventor

Holdings v. Bed Bath & Beyond, Inc., 876 F.3d 1372, 1378 (Fed. Cir. 2017). Finnavations even

admitted these claims were not directed to more than an abstract idea, so it knew they were

ineligible. Mot. Hrg. At 28:18 (“The claim itself does not say how you deal with it.”). Instead of

dismissing its claims when presented with the case law in Payoneer’s Motion, Finnavations

persisted and attempted to analogize its claims to those in DDR, which “address[ed] a problem

unique to computer technology,” and Enfish, which “announce[d] an improvement in computer

operation.” Order at 8. But the Court saw through this argument and found that the “’755 Patent’s

attempt to claim bookkeeping relies on the recognized abstract concept of data collection and

recognition.” Opinion at 7. The law is clear that using generic computing technology to collect and

manipulate data is not an inventive step that can confer patentability. Elec. Power Grp., LLC v.

Alstom S.A., 830 F.3d 1350, 1355 (Fed. Cir. 2016) (“Merely requiring the selection and

manipulation of information . . . by itself does not transform the otherwise-abstract processes of

information collection and analysis.”); see also Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct.

2347, 2359 (2014) (“use of a computer to create electronic records, track multiple transactions,

and issue simultaneous instructions” is not an inventive concept); Bancorp Servs., L.L.C. v. Sun

Life Assur. Co. of Can. (U.S.), 687 F.3d 1266, 1278 (Fed. Cir. 2012) (a computer “employed only

for its most basic function . . . does not impose meaningful limits on the scope of those claims”).

       Accordingly, this case is exceptional under § 285 because, under any objectively

reasonable assessment, Finnavations should have known that its claims were patent-ineligible in



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view of the above cases and its claims’ “stark contrast” to those in DDR and Enfish. See My Health,

2017 WL 6512221, at *4 (finding case exceptional in part due to the weakness of plaintiff’s § 101

position in light of “[t]he numerous cases invalidating claims directed to information collection

and analysis” and the asserted claims’ “stark contrast” to the “handful of cases” like Enfish, which

found a specific improvement to the way computers operate). Regardless whether one considers

the thrust of the ’755 Patent to be bookkeeping or data manipulation, both categories are manifestly

abstract and ineligible for patenting.

               2.      Courts have recognized the need to deter pursuit of similarly meritless
                       claims.

       This frivolous case “stands out” from others because no reasonable litigant could expect

success on the merits of Finnavations’ § 101 position given the governing law. This Court should

follow the example set by itself and others that an award of attorneys’ fees is called for when a

patentee advances meritless § 101 arguments such as these. See, e.g., Inventor Holdings, 876 F.3d

at 1377–80; SAP America, Inc. v. InvestPic, LLC, No. 3:16-cv-02689, 2018 WL 993854 (N.D.

Tex. Feb. 21, 2018); My Health, Inc. v. ALR Techs., Inc., 2017 WL 6512221 (E.D. Tex. Dec. 19,

2017); eDekka LLC v. 3Balls.com, Inc., 2015 WL 9225038 (E.D. Tex. Dec. 17, 2015).

       For example, in Inventor Holdings, in affirming this Court’s award of attorneys’ fees, the

Federal Circuit concluded that this Court “acted within the scope of its discretion in finding [the]

case to be exceptional based on the weakness of [plaintiff’s] § 101 arguments and the need to deter

similarly weak arguments in the future.” Inventor Holdings, 876 F.3d at 1377. After concluding

that the claims at issue were “manifestly directed to an abstract idea,” the Federal Circuit went on

to state, “the only components disclosed in the specification for implementing the asserted method

claims are unambiguously described as ‘conventional.’” Id. at 1378. The Federal Circuit noted that

“while we agree with [plaintiff] as a general matter that it was and is sometimes difficult to analyze


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patent eligibility under the framework prescribed by the Supreme Court in Mayo, there is no

uncertainty or difficulty in applying the principles set out in Alice to reach the conclusion that the

[asserted] patent’s claims are ineligible” because the “patent claims here are directed to a

fundamental economic practice, which Alice made clear is, without more, outside the patent

system.” Id. at 1379.

        Like the claims in Inventor Holdings, “there is no uncertainty or difficulty in applying the

principles set out in Alice” and the long line of Federal Circuit precedents holding claims like

Finnavations’ patent-ineligible. See id. This Court had no difficulty in reaching that conclusion:

“Just like the patent ineligible hedging of Bilski or the intermediated settlement of Alice,

bookkeeping is a ‘fundamental economic practice long prevalent in our system of commerce and

taught in any introductory’ accounting class.” Order at 7 (quoting Bilski, 561 U.S. at 611). Indeed,

the software functionality claimed in the ’755 Patent “is identical to the function found to be non-

inventive by the Supreme Court in Alice.” Order at 9. Despite this, Finnavations persisted and

forced Payoneer to incur fees to defend itself against claims that should never have been filed in

the first place.

                   3.   An exceptional finding determination would advance considerations
                        of compensation and deterrence

        The law permits the Court to consider deterrence as a factor in the § 285 analysis. Octane

Fitness, 134 S. Ct. at 1756 n.6. Here, those considerations warrant a finding of exceptional case to

prevent litigants like Finnavations from behaving the same way in the future. See Commil USA,

LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1930–31 (2015) (“[I]t is still necessary and proper to

stress that district courts have the authority and responsibility to ensure frivolous cases are

dissuaded”). Section 285 “serves as a deterrent to improper bringing of clearly unwarranted suits.”

Automated Bus. Cos. v. NEC Am., Inc., 202 F.3d 1353, 1355 (Fed. Cir. 2000) ((quoting Mathis v.


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Spears, 857 F.2d 749, 753–54 (Fed. Cir. 1988)). The law is intended as a “safeguard” against

litigants like Finnavations that “use patents as a sword to go after defendants for money, even

when their claims are frivolous.” Commil USA, 135 S. Ct. at 1930.

       The Supreme Court has commented on the benefit of fee-shifting statutes in litigation and

the weight that should be afforded to the objective reasonableness of a party’s litigating position.

See Kirtsaeng v. John Wiley & Sons, 136 S. Ct. 1979 (2016). Although the Court addressed

copyright law there, its discussion of the lack of merit in the plaintiff’s case applies with equal

force here:

       The objective-reasonableness approach . . . both encourages parties with strong
       legal positions to stand on their rights and deters those with weak ones from
       proceeding with litigation. When a litigant—whether plaintiff or defendant—is
       clearly correct, the likelihood that he will recover fees from the opposing (i.e.,
       unreasonable) party gives him an incentive to litigate the case all the way to the
       end.

Id. at 1986. Here, Payoneer was clearly correct in arguing that the asserted claims were patent-

ineligible, and Finnavations was clearly wrong. The Court can and should find that Payoneer

should be awarded its attorneys’ fees for standing on its rights. A finding of exceptional case here

would signal to defendants that they can and should stand on their rights when faced with

exceptionally meritless claims such as Finnavations’.

       This case is similar to others where district courts have found cases exceptional due to a

litigant’s pursuit of objectively ineligible claims. See, e.g., Cellspin Soft, Inc. v. Fitbit, Inc., No.

4:17-CV-5928-YGR, 2018 WL 3328164, at *1 (N.D. Cal. July 6, 2018); eDekka LLC v.

3Balls.com, Inc., No. 2:15-cv-541, 2015 WL 9225038 (E.D. Tex. Dec. 17, 2015). For example, in

eDekka, the plaintiff eDekka asserted U.S. Patent No. 6,266,674, which “relates to storing and

labeling information and discloses a preferred embodiment that includes a cassette tape recorder

with multiple buttons, a microphone, and a speaker.” Id. at *1. eDekka asserted the patent against


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“online retailers that offer a shopping cart feature on their e-commerce websites.” Id. The court

explained the issues with the patent’s facially-weak claims:

        The Court notes that the ’674 Patent is demonstrably weak on its face, despite the
        initial presumptions created when this patent was issued by the PTO. The ’674
        Patent generically refers to a “data structure,” but does not require such structure to
        be limited to a computer. The claims are not tied to a generic computer, let alone a
        specialized one. “Claim 1 essentially describes the common process of receiving,
        labeling, and storing information, while Claim 3 encompasses retrieving such
        information.” The apparatus claims provide no additional features or meaningful
        limitations.

Id. at *2 (internal citations omitted). Judge Rodney Gilstrap concluded that the patent’s “claims

were clearly directed toward unpatentable subject matter, and no reasonable litigant could have

reasonably expected success on the merits when defending against the numerous § 101 motions

filed in this case.” Id.

        In finding the case exceptional, the eDekka court was particularly persuaded by the fact

that the plaintiff “repeatedly offered insupportable arguments on behalf of an obviously weak

patent.” Id. at *4. Consequently, the court “question[ed] whether eDekka engaged in a reasonable

and thorough pre-suit investigation regarding the § 101 standard and relevant authority before

filing” its lawsuits. Id. The court therefore “identifie[d] a clear need to advance considerations of

deterrence.” Id.

        Like in eDekka, Finnavations’ asserted claims were obviously weak claims, asserted in the

face of “substantial precedent dismissing analogous data manipulation claims.” Cellspin, 2018 WL

3328164, at *3. Despite this precedent, Finnavations offered insupportable arguments on behalf of

the claims. It failed, both in its briefing and in its argument during the hearing on the motions to

dismiss, to identify any proper basis to support the eligibility of its claims. Accordingly, the Court

is in a position to see that Finnavations did not “engage[] in a reasonable and thorough . . .

investigation regarding the § 101 standard and relevant authority” before pursuing its lawsuits. See


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eDekka, 2015 WL 9225038 at *4. Therefore, like in eDekka, the Court can “identif[y] a clear need

to advance considerations of deterrence” and find the case exceptional. Id.

       B.       Payoneer is Entitled to its Attorneys’ Fees for Defending a Meritless Case.

       The ’775 Patent is patent-ineligible on its face. Finnavations should never have filed this

lawsuit because it should have recognized the § 101 issues with its claims considering both the

governing law and the facts in this case. Under any objectively reasonable assessment of Supreme

Court and Federal Circuit precedent, Finnavations’ patent is manifestly directed to an abstract idea

and ineligible under § 101. Yet Finnavations pursued its case anyway, wasting the Court’s and the

parties’ time and resources.

       Finnavations’ filing of this case and pursuit of litigation in the face of clear evidence that

it could not prevail forced Payoneer to unnecessarily incur attorneys’ fees and the Court to

unnecessarily devote its limited judicial resources. The Court should therefore award Payoneer its

attorneys’ fees “to deter future ‘wasteful litigation’ on similarly weak arguments.” See Inventor

Holdings, 876 F.3d at 1377–78. It is unnecessary to wait to administer justice because the Court

retains jurisdiction over a fee determination, even during appeal. See Venen v. Sweet, 758 F.2d

117, 121 (3d Cir. 1985) (“A district court, during the pendency of an appeal is not divested of

jurisdiction to determine an application for attorney’s fees.”). Therefore, this determination should

be made now, while the issues are still fresh in the Court’s mind and in order to have a just, speedy,

and final determination of the entire case.

IV.    CONCLUSION

       For the foregoing reasons, Payoneer respectfully requests that the Court grant its Motion,

find this case exceptional, and award Payoneer its attorneys’ fees of $99,727.00. See Anderson

Decl., Ex. 1.



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Dated: December 10, 2018              Respectfully submitted,

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